

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. AP-76,286






EX PARTE STEVE E. GAITHER, Applicant








ON APPLICATION FOR A WRIT OF HABEAS CORPUS


CAUSE NO. 2007-418,617-A IN THE 364TH JUDICIAL DISTRICT COURT


FROM LUBBOCK COUNTY






	Per curiam.


O P I N I O N



	Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for a writ of habeas corpus.  Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant was convicted of possession with
intent to deliver a controlled substance and sentenced to twenty-two years' imprisonment. 

	Applicant contends that his counsel rendered ineffective assistance because he failed to
timely file a notice of appeal.  Counsel has submitted an affidavit conceding that he was aware of
Applicant's desire to appeal, but did not timely file a motion for new trial or a notice of appeal.	The trial court has determined that trial counsel failed to timely file a notice of appeal.  We
find, therefore, that Applicant is entitled to the opportunity to file an out-of-time appeal of the
judgment of conviction in Cause No. 2007-418,617-A from the 364th Judicial District Court of
Lubbock County.  Applicant is ordered returned to that time at which he may give a written notice
of appeal so that he may then, with the aid of counsel, obtain a meaningful appeal.  All time limits
shall be calculated as if the sentence had been imposed on the date on which the mandate of this
Court issues.  We hold that, should Applicant desire to prosecute an appeal, he must take affirmative
steps to file a written notice of appeal in the trial court within 30 days after the mandate of this Court
issues.


Delivered: February 10, 2010

Do Not Publish


